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                         ATTACHMENT 7

          FTI DTDF November 2006 Monthly Statement
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December 26, 2006



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), November 2006 Monthly Statement
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period November 1, 2006 through November 30, 2006.

Copies of this monthly statement have been provided via email to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company
         Susan M. Smith, Mesirow Financial, Inc.

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Anne M. Loraditch, Esq., Beckley Singleton CHTD.

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   December 26, 2006


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from November 1, 2006 through November 30, 2006

Total Current Fees                                                                     $   140,009.00
Total Current Expenses                                                                       1,490.45

Total Current Fees and Expenses                                                        $   141,499.45

Eighty Percent of Total Current Fees                                                    $ 112,007.02
One Hundred Percent of Total Current Expenses                                               1,490.45

Total Amount Due this Statement                                                        $   113,497.47


SEE DETAIL ATTACHED.




                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                         USA Capital Diversified Trust Deed Fund
                                     Summary Exhibit A
                               Total Hours, Fees and Expenses
                       For the Period of 11/1/2006 through 11/30/2006
Consultant       Level                 Hours             Rate        Fees    Expenses       Total

Tucker, M.       Sr. Managing Dir.     111.1       $450         49,995.00      677.50   50,672.50

Harvick, C.      Director              179.0       $375         67,125.00      661.09   67,786.09

Schwartz, J.     Senior Consultant          0.2    $295             59.00        0.00       59.00

Peterson, L.     Senior Consultant         65.7    $295         19,381.50        0.00   19,381.50

Smith, S.        Paraprofessional          36.3     $95          3,448.50        0.00    3,448.50

Administration   Admininstrative            0.0          $0          0.00      151.86      151.86

Grand Total                             392.3                 $140,009.00   $1,490.45 $141,499.45




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                         For the Period of 11/1/2006 through 11/30/2006
Consultant                                                                Hours                Fees
Asset Analysis and Recovery
     Harvick, C.                                                            36.5           13,687.50
     Peterson, L.                                                           20.8            6,136.00
     Tucker, M.                                                             18.4            8,280.00

     Total for Asset Analysis and Recovery:                                 75.7           28,103.50


Asset Sale
     Harvick, C.                                                             7.9            2,962.50
     Peterson, L.                                                            1.8              531.00
     Tucker, M.                                                              2.8            1,260.00

     Total for Asset Sale:                                                  12.5            4,753.50


Case Administration
     Harvick, C.                                                             1.2             450.00
     Peterson, L.                                                            0.4             118.00
     Tucker, M.                                                              2.1             945.00

     Total for Case Administration:                                          3.7            1,513.00


Claims Administration and Objections
     Harvick, C.                                                             1.3             487.50

     Total for Claims Administration and Objections:                         1.3             487.50


Collection Account Distributions and Related Disputes
     Harvick, C.                                                             1.3             487.50
     Tucker, M.                                                              0.5             225.00

     Total for Collection Account Distributions and Related Disputes:        1.8             712.50


Court Hearings
     Harvick, C.                                                             8.0            3,000.00
     Tucker, M.                                                              0.1              45.00

     Total for Court Hearings:                                               8.1            3,045.00


Employment/Fee Applications
     Harvick, C.                                                            11.0            4,125.00
     Peterson, L.                                                            1.4              413.00
     Schwartz, J.                                                            0.2              59.00
     Smith, S.                                                              35.3            3,353.50
     Tucker, M.                                                             10.4            4,680.00




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Consultant                                                             Hours                Fees

     Total for Employment/Fee Applications:                              58.3           12,630.50


Financing
     Harvick, C.                                                          0.2               75.00
     Peterson, L.                                                         2.4              708.00

     Total for Financing:                                                 2.6              783.00


IP/10-90/Ashby Recovery
     Harvick, C.                                                         19.3            7,237.50
     Peterson, L.                                                        12.9            3,805.50
     Smith, S.                                                            1.0               95.00
     Tucker, M.                                                           8.6            3,870.00

     Total for IP/10-90/Ashby Recovery:                                  41.8           15,008.00


Meetings & Communications with Diversified Committee
     Harvick, C.                                                          8.6            3,225.00
     Tucker, M.                                                           9.1            4,095.00

     Total for Meetings & Communications with Diversified Committee:     17.7            7,320.00


Plan and Other Restructure Related Work
     Harvick, C.                                                         83.7           31,387.50
     Peterson, L.                                                        26.0            7,670.00
     Tucker, M.                                                          59.1           26,595.00

     Total for Plan and Other Restructure Related Work:                 168.8           65,652.50


Grand Total                                                             392.3        $140,009.00




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                                USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit C
                            Detailed Time Charges Incurred by Activity Code
                          For the Period of 11/1/2006 through 11/30/2006
Date        Consultant         Description                                              Hours       Fees

Asset Analysis and Recovery
11/1/2006   Harvick, C.        Print and review Sheraton /EPIC escrow instructions        0.5      187.50
                               sent by R. Walker and send e-mail to M. Levinson
                               regarding same.

11/1/2006   Tucker, M.         Review several e-mails from A. Jarvis regarding            0.6      270.00
                               documents from R. Walker on J. Milanowski's
                               willingness to sign Sheraton escrow information.

11/2/2006   Harvick, C.        Research payoff amounts for Sheraton and send              0.3      112.50
                               findings to M. Tucker, M. Levinson and J. Hermann.

11/3/2006   Tucker, M.         Review collection status and follow up actions needed.     0.7      315.00

11/8/2006   Harvick, C.        Review Colt Gateway loan documents and loan                0.8      300.00
                               history reports and respond to J. Hermann's e-mail
                               regarding strategy going forward for recovery and
                               loan servicing.

11/8/2006   Harvick, C.        Prepare and send e-mail to M. Haftl and J. Atkinson        0.3      112.50
                               regarding BySynergy collections status.

11/8/2006   Tucker, M.         Review e-mails on Colt loan and servicing same.            0.3      135.00

11/9/2006   Harvick, C.        Review Marquis Villa Agreement of Purchase and             0.6      225.00
                               Sale; e-mail M. Levinson and J. Hermann regarding
                               status and next steps.

11/9/2006   Peterson, L.       Update interest calculation schedule for the $18.9         2.7      796.50
                               million USA Commercial Mortgage receivable using
                               the prime interest rate and prepare support binder
                               with documentation.

11/9/2006   Tucker, M.         Review several e-mails on EPIC sale and follow up          0.1       45.00
                               issues.

11/9/2006   Tucker, M.         Review e-mail on status of Colt discovery.                 0.1       45.00

11/9/2006   Tucker, M.         Review e-mails on status of BySynergy discovery.           0.1       45.00

11/10/2006 Harvick, C.         Review of BySynergy title report.                          0.2       75.00

11/10/2006 Harvick, C.         Review and prepare various e-mails regarding asset         0.3      112.50
                               collection.

11/10/2006 Harvick, C.         Review Diversified Trust Deed Fund loan summary for        0.3      112.50
                               September and prepare e-mail to L. Ernce.

11/10/2006 Harvick, C.         Prepare for and meet with M. Tucker to discuss             0.4      150.00
                               workplan, BySynergy and Colt recovery action and
                               Orrick request.

11/10/2006 Peterson, L.        Prepare schedule of DTF loan summary as of                 0.9      265.50
                               September 30, 2006




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Date       Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
11/10/2006 Peterson, L.   Review BySynergy information provided by Debtor            0.3       88.50
                          and prepare support documentation binders.

11/10/2006 Tucker, M.     Meet with C. Harvick to discuss workplan, BySynergy        0.3      135.00
                          and Colt recovery action and Orrick request.

11/12/2006 Tucker, M.     Review e-mails on Colt issues.                             0.2       90.00

11/14/2006 Harvick, C.    Continue review of BySynergy title report.                 0.2       75.00

11/14/2006 Harvick, C.    Review and edit summary of Diversified Trust Deed          0.4      150.00
                          Fund Recovery Schedule.

11/14/2006 Harvick, C.    Discuss collection issues with M. Tucker after meeting     0.3      112.50
                          with Debtor in Las Vegas on November 13.

11/14/2006 Peterson, L.   Review and update the recovery analysis schedule           0.7      206.50
                          and e-mail to C. Harvick.

11/14/2006 Tucker, M.     Review various e-mails on HMA Sales litigation,            0.3      135.00
                          docket and results of court hearing.

11/14/2006 Tucker, M.     Discuss collection issues with C. Harvick after his        0.3      135.00
                          meeting with Debtor on November 13.

11/15/2006 Harvick, C.    Participate in meeting with M. Tucker to discuss           1.2      450.00
                          actions against Investors IV; continue review of
                          financial statements for Investors IV and Investment
                          Partners; prepare request list for Investors IV
                          documents and prepare list of next steps.

11/15/2006 Harvick, C.    Follow-up call with M. Tucker, J. Hermann and M.           0.8      300.00
                          Levinson regarding Investors IV, EPIC and Colt
                          recovery status and follow up issues.

11/15/2006 Harvick, C.    Prepare for and participate in call with HFA (Colt),       2.6      975.00
                          Mesirow, M. Tucker and J. Hermann; including follow-
                          up call without HFA (Colt).

11/15/2006 Harvick, C.    Review summary of HFA (Colt) call prepared by J.           0.5      187.50
                          Hermann and review the Colt Loan History Reports to
                          verify payments mentioned by HFA (Colt).

11/15/2006 Harvick, C.    Participate in call with J. Hermann to discuss next        0.7      262.50
                          steps with HFA (Colt), including the review of Colt
                          Gateway Operating Agreement and to discuss next
                          steps for EPIC.

11/15/2006 Harvick, C.    Prepare and send M. Haftl a document request for           0.3      112.50
                          HFA (Colt).

11/15/2006 Harvick, C.    Participate in call with J. Hermann and M. Levinson to     0.9      337.50
                          discuss next steps with HFA (Colt), EPIC and HMA
                          Sales regarding recovery efforts.

11/15/2006 Harvick, C.    Locate and review USA Investors IV financial               0.3      112.50
                          statements.

11/15/2006 Harvick, C.    Review notes from recovery meeting with Mesirow            0.7      262.50
                          and prepare a Diversified Trust Deed Fund Timing
                          and Recovery schedule.




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Date       Consultant     Description                                                Hours       Fees

Asset Analysis and Recovery
11/15/2006 Harvick, C.    Review payoff schedule from B. Russell for Franklin-         0.6      225.00
                          Stratford and Interstate Commerce I & II, and
                          Mesirow's summary of Amesbury Hatter Point.

11/15/2006 Peterson, L.   Review e-mails regarding weekly cash collections and         0.4      118.00
                          loan servicing agreements and follow-up (e-mail and
                          voicemail) with C. McClellan regarding the October
                          31, 2006 loan summary and recent cash collection
                          report.

11/15/2006 Tucker, M.     Prepare for and participate in call with Mesirow, J.         2.9    1,305.00
                          Hermann, C. Harvick and HFA (Colt) and participate
                          in follow up call with Diversified Trust Deed Fund
                          team.

11/15/2006 Tucker, M.     Analysis of Investors IV information including review        1.8      810.00
                          of financial statements and other documents to
                          assess ability to file an involuntary petition and
                          identify recoverability issues; meet with C. Harvick to
                          discuss same.

11/15/2006 Tucker, M.     Review loan recovery schedule based on meeting               0.5      225.00
                          with Debtors and October 31 collection report.

11/15/2006 Tucker, M.     Conference with M. Levinson, C. Harvick and J.               0.8      360.00
                          Hermann regarding Investors IV, EPIC and Colt
                          recovery status and follow up issues.

11/16/2006 Harvick, C.    Review Hotel Zoso Marketing and Joint Escrow                 0.3      112.50
                          Instructions, pdf the documents and send to
                          investigation team.

11/16/2006 Harvick, C.    Review draft motion of Diversified Trust Deed Funds          0.7      262.50
                          for Order Restricting Operations of Investors IV,
                          discuss changes with M. Levinson and J. Hermann.

11/16/2006 Harvick, C.    Review Investors IV, Marquis/Zoso Origination                0.6      225.00
                          Summary, Sal Reale lien and the Sale Agreement.

11/16/2006 Harvick, C.    Participate in call with P. Cheng regarding Investors        0.2       75.00
                          IV general ledger detail and number of creditors and
                          send follow-up e-mail to team.

11/16/2006 Harvick, C.    Follow-up call with M. Levinson and J. Hermann               0.4      150.00
                          regarding Investors IV investigation and action.

11/16/2006 Harvick, C.    Participate in call with S. Strong, M. Levinson, J.          0.8      300.00
                          Hermann and S. Tingy (part) to discuss Investors IV
                          investigation and action.

11/16/2006 Harvick, C.    Gather information on Investors IV to facilitate actions     1.1      412.50
                          against Investors IV to protect Diversified Trust Deed
                          Fund recovery and send to team.

11/16/2006 Harvick, C.    Review e-mails from M. Haftl and leave message               0.1       37.50
                          regarding Investors IV investigation.

11/16/2006 Harvick, C.    Participate in call with M. Levinson and J. Hermann          0.2       75.00
                          regarding the draft motion and strategy moving
                          forward regarding Investors IV.




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Date       Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
11/16/2006 Harvick, C.    Continue to gather information on Investors IV to          0.8      300.00
                          facilitate actions against Investors IV to protect
                          Diversified Trust Deed Fund recovery and send to
                          team.

11/16/2006 Harvick, C.    Prepare for and participate in conference call with T.     1.8      675.00
                          Allison, J. Atkinson, K. Glade, M. Levinson, C.
                          Harvick, J. Hermann, M. Tucker and A. Loraditch
                          regarding USA Investors IV receivable to Diversified
                          Trust Deed Fund and potential involuntary filing on
                          Investors IV.

11/16/2006 Harvick, C.    Call with P. Cheng and M. Haftl to discuss Investors       0.3      112.50
                          IV.

11/16/2006 Harvick, C.    Review of M. Levinson e-mail to Quinney and Mesirow        0.3      112.50
                          regarding Investors IV action, review documentation
                          and discussion with M. Levinson and J. Hermann
                          regarding same.

11/16/2006 Peterson, L.   Review Investment Partners' general ledger for             0.9      265.50
                          transactions with USA Investors VI.

11/16/2006 Peterson, L.   Review all loan documents regarding the Marquis            1.0      295.00
                          Hotel and prepare support documentation for the
                          claim against Investors VI.

11/16/2006 Peterson, L.   Research Hotel Zoso to determine if Northwest              0.4      118.00
                          Hospitality is currently managing the property.

11/16/2006 Peterson, L.   Make changes to schedule of amounts owed to                0.3       88.50
                          Diversified Trust Deed Fund shown on Investors VI
                          12/31/05 balance sheet compared to amount shown
                          on Diversified Trust Deed Fund 12/31/05 balance
                          sheet.

11/16/2006 Peterson, L.   Create binder of documentation for USA Investors VI        0.7      206.50
                          to facilitate the involuntary filing.

11/16/2006 Peterson, L.   Review USA Investors VI documents e-mailed from C.         0.3       88.50
                          Harvick.

11/16/2006 Peterson, L.   Review e-mails and attachments regarding pre-              0.3       88.50
                          petition servicing fees for each loan and Amesbury
                          Hatters Point.

11/16/2006 Peterson, L.   Prepare loan summary as of 10/31/06 for only               0.6      177.00
                          Diversified loans and e-mail to C. Harvick to provide
                          to Diversified Trust Deed Fund Committee.

11/16/2006 Peterson, L.   Updated Diversified Trust Deed Fund weekly cash            0.7      206.50
                          collections through 11/3/06.

11/16/2006 Peterson, L.   Prepare schedule of amounts owed to Diversified            0.6      177.00
                          Trust Deed Fund shown on Investors VI 12/31/05
                          balance sheet compared to amount shown on
                          Diversified Trust Deed Fund 12/31/05 balance sheet.

11/16/2006 Tucker, M.     Research support for filing involuntary petition on        2.6    1,170.00
                          Investors IV.




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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
11/16/2006 Tucker, M.     Call with M. Levinson, J. Hermann, C. Harvick and A.        0.6      270.00
                          Loraditch regarding SEC and next steps with
                          Investors IV, HMA and Investment Partners.

11/16/2006 Tucker, M.     Conference call with T. Allison, J. Atkinson, K. Glade,     1.5      675.00
                          M. Levinson, C. Harvick, J. Hermann and A. Loraditch
                          regarding USA Investors IV receivable to Diversified
                          Trust Deed Fund and potential involuntary filing on
                          Investors IV.

11/17/2006 Harvick, C.    Participate in call with M Levinson and J. Hermann          0.5      187.50
                          regarding strategy moving forward regarding Investors
                          IV, EPIC and Investment Partners.

11/17/2006 Harvick, C.    Review revised draft motion of Diversified Trust Deed       0.5      187.50
                          Fund for Order Restricting Operations of Investors IV
                          and HMA Settlement Statement and send e-mail to
                          team with support documentation for the Motion.

11/17/2006 Harvick, C.    Participate in call with M. Haftl and left message for      0.2       75.00
                          K.C. Jones at HFA (Colt) to provide documents.

11/17/2006 Peterson, L.   Review e-mail correspondence of counsel regarding           0.2       59.00
                          involuntary petition to be filed against USA Investors
                          VI.

11/21/2006 Harvick, C.    Update M. Tucker with recent events involving Hotel         0.2       75.00
                          Zoso and collection issues.

11/21/2006 Harvick, C.    Call with J. Hermann to discuss 10-90, EPIC,                0.4      150.00
                          Sheraton and Colt recovery efforts.

11/21/2006 Harvick, C.    Review of EPIC loan documents and send to J.                0.3      112.50
                          Hermann to provide to SEC.

11/21/2006 Peterson, L.   Update interest calculation schedule and support            0.3       88.50
                          binder for the $18.9 million USA Commercial
                          Mortgage receivable claim.

11/21/2006 Tucker, M.     Follow up Zoso Hotel closing and collection issues          0.2       90.00
                          with C. Harvick.

11/22/2006 Peterson, L.   Update documentation binder regarding USA                   0.4      118.00
                          Investors VI.

11/27/2006 Harvick, C.    Search for EPIC quitclaim deed requested by J.              0.2       75.00
                          Hermann.

11/27/2006 Harvick, C.    Review of EPIC Motion for Relief from Stay and              0.3      112.50
                          supporting exhibits.

11/27/2006 Harvick, C.    Send e-mail requesting Diversified Trust Deed Fund          0.2       75.00
                          audit workpapers and support documentation; review
                          J. Hermann e-mail regarding same.

11/27/2006 Harvick, C.    Review of EPIC documents produced to California             0.6      225.00
                          Mortgage Realty and send to J. Hermann.

11/27/2006 Peterson, L.   Review and organize EPIC Resorts documents                  0.6      177.00
                          provided by Debtor.

11/27/2006 Peterson, L.   Review Amesbury summary memo and exhibits                   1.6      472.00
                          prepared on September 11, 2006 by Mesirow.


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Date       Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
11/27/2006 Peterson, L.   Update Diversified Trust Deed Fund collections             0.8      236.00
                          schedules with amounts collected for weeks ending
                          11/10/06 and 11/17/06.

11/27/2006 Peterson, L.   Review EPIC documents received and research                1.5      442.50
                          Pacer for documents transferring assignment and
                          deed of trust in real property from EPIC to Tree Moss
                          and e-mail all such attachments to C. Harvick.

11/28/2006 Harvick, C.    Review Investment Partners documents for financial         0.9      337.50
                          statements for Tree Moss Partners, review Tree Moss
                          Partners financial statements and compare Tree Moss
                          Diversified Trust Deed Fund liabilities to Diversified
                          Trust Deed Fund financial statements; draft and send
                          e-mail regarding same.

11/28/2006 Harvick, C.    Continue to prepare analysis of Diversified Trust Deed     2.2      825.00
                          Fund recovery and summary of Diversified Trust Deed
                          Fund recovery status and action items, including
                          review and organization of supporting documentation.

11/28/2006 Harvick, C.    Continue to prepare analysis of Diversified Trust Deed     2.7    1,012.50
                          Fund recovery and summary of Diversified Trust Deed
                          Fund recovery status and action items.

11/28/2006 Harvick, C.    Participate in call with P. Cheng regarding available      0.1       37.50
                          Tree Moss Partners data.

11/28/2006 Harvick, C.    Participate in call with M. Haftl regarding Colt and       1.7      637.50
                          BySynergy recovery.

11/28/2006 Harvick, C.    Prepare recovery summary of Diversified Trust Fund         0.5      187.50
                          loans for presentation to Diversified Trust Fund
                          Committee and discuss same with M. Tucker.

11/28/2006 Harvick, C.    Review of Diversified Trust Deed Fund October loan         0.3      112.50
                          summary and loan monitoring report provided by
                          Mesirow.

11/28/2006 Harvick, C.    Prepare analysis of Diversified Trust Deed Fund            1.1      412.50
                          recovery and summary of Diversified Trust Deed Fund
                          recovery status and action items.

11/28/2006 Peterson, L.   Review November loan monitoring report sent by             0.4      118.00
                          Debtor and create schedule with only Diversified Trust
                          Deed Fund loans.

11/28/2006 Peterson, L.   Review loan documents, loan monitoring schedule            0.9      265.50
                          and default letters to determine dates of default for
                          Diversified Trust Deed Fund loans.

11/28/2006 Tucker, M.     Discuss recovery summary of Diversified Trust Deed         0.5      225.00
                          Fund loans with C. Harvick.

11/29/2006 Harvick, C.    Review of Debtor motion for an order compelling            0.3      112.50
                          BySynergy, LLC and Arizona Title Agency to turn over
                          estate property; e-mail Diversified Trust Deed Fund
                          professional team regarding same.

11/29/2006 Peterson, L.   Update recovery analysis schedule with the principal       1.0      295.00
                          and interest outstanding as of 10/31/2006 for the
                          Diversified Trust Deed Fund loans.



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Date         Consultant       Description                                                Hours        Fees

Asset Analysis and Recovery
11/29/2006 Peterson, L.       Review of October collections and disbursement               0.7      206.50
                              report provided by Mesirow and follow-up with P.
                              Cheng regarding accounting timing on an interest
                              payment; includes discussion with C. Harvick.

11/29/2006 Peterson, L.       Review of Agreement of Purchase and Sale to sell             0.2       59.00
                              EPIC property from Tree Moss to Sunrise Real Estate
                              Investment Group.

11/29/2006 Peterson, L.       Review Diversified Trust Deed Fund October                   0.6      177.00
                              collections and disbursements report provided by
                              Debtor and provide C. Harvick with changes from the
                              September report provided by Debtor.

11/29/2006 Peterson, L.       Review of BySynergy loan documents to determine              0.5      147.50
                              the collateral of the loan and when the deed of trust is
                              to be recorded for the loan.

11/30/2006 Harvick, C.        Prepare and send summary e-mail to S. Tingey of              0.3      112.50
                              BySynergy recovery observations.

11/30/2006 Harvick, C.        Review response from J. Hermann regarding                    0.1       37.50
                              BySynergy Motion and send response e-mail.

11/30/2006 Harvick, C.        Participate in call with J. Hermann, M. Tucker, M.           1.9      712.50
                              Levinson, and Debtor counsel to discuss current
                              developments with J. Milanowski, Investors IV, HMA,
                              and Tree Moss Partners.

11/30/2006 Harvick, C.        Review of HMA and Investors IV 2004 applications.            0.2       75.00

11/30/2006 Peterson, L.       Review collection and disbursement reports provided          0.3       88.50
                              by Debtor to determine amount of prepaid interest and
                              diverted principal for First Trust Deed Fund.

11/30/2006 Tucker, M.         Follow up to conference call with Debtor with J.             0.4      180.00
                              Hermann on Colt and other follow up activity.

11/30/2006 Tucker, M.         Review supporting documents on Investors IV,                 1.7      765.00
                              Sheraton Hotel, Tree Moss and EPIC for follow up
                              actions.

11/30/2006 Tucker, M.         Conference with A. Jones, S. Strong, C. Harvick, M.          1.9      855.00
                              Levinson and J. Hermann regarding next steps on
                              USA Investors IV, Tree Moss, Colt and Royal Hotel.

Total for Asset Analysis and Recovery:                                                    75.7    28,103.50

Asset Sale
11/1/2006    Harvick, C.      Call with J. Reed to set up a call with California           0.2       75.00
                              Mortgage Realty.

11/1/2006    Harvick, C.      Review Notice of Errata to APA and schedules filed.          0.2       75.00

11/3/2006    Harvick, C.      Follow up with A. Loraditch regarding the meeting with       0.1       37.50
                              California Mortgage Realty.

11/3/2006    Harvick, C.      Prepare for and participate in call with California          1.3      487.50
                              Mortgage Realty, follow-up discussion with J. Reed
                              regarding document request and send bond offering
                              to G. Smith; discuss call with M. Tucker.



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Date         Consultant    Description                                               Hours       Fees

Asset Sale
11/3/2006    Tucker, M.    Discussion with C. Harvick regarding California             0.3      135.00
                           Mortgage Realty conference call and data to provide
                           California Mortgage Realty.

11/5/2006    Tucker, M.    Review e-mails on meeting with Rob Goe on Suncal            0.1       45.00
                           interest in Diversified Trust Deed Fund assets.

11/7/2006    Harvick, C.   Participate in call with M. Levinson, M. Tucker and         0.4      150.00
                           Sun Cal regarding the purchase of projects related to
                           10-90.

11/7/2006    Harvick, C.   Review of data sent to California Mortgage and Realty       0.4      150.00
                           from James Reed including but not limited to the title
                           reports for Oak Valley, Placer and Cabernet.

11/7/2006    Harvick, C.   Review of APA and identify loans not included on the        0.6      225.00
                           to be serviced schedule; e-mail finding to Orrick.

11/7/2006    Tucker, M.    Conference with Sun Cal regarding interest in               0.7      315.00
                           Diversified Trust Deed Fund assets.

11/7/2006    Tucker, M.    Conference with M. Levinson, C. Harvick and Sun Cal         0.4      180.00
                           regarding purchase of projects related to 10-90.

11/8/2006    Harvick, C.   Review of e-mails regarding changes to the                  0.3      112.50
                           Disclosure Statement and cover letter.

11/9/2006    Harvick, C.   Exchange numerous e-mails with M. Haftl and J.              0.3      112.50
                           Reed regarding the status of collecting on Diversified
                           Trust Deed Fund loans and the communication to
                           potential buyers.

11/9/2006    Harvick, C.   Participate in call with D. Blatt from Compass Partners     0.3      112.50
                           regarding the offer they plan to submit for Diversified
                           Trust Deed Fund minority interest loans.

11/9/2006    Harvick, C.   Review of Letter of Intent from Compass Partners and        0.7      262.50
                           compare to FTI recovery analysis.

11/9/2006    Tucker, M.    Review Diversified Trust Deed Fund offer from               0.2       90.00
                           Compass Partners.

11/10/2006 Harvick, C.     Review summary of Compass offer and prepare e-              0.5      187.50
                           mail to Diversified Trust Deed Fund and Debtor
                           professionals.

11/10/2006 Harvick, C.     Review status summary of documents produced to              0.2       75.00
                           California Mortgage and Realty.

11/10/2006 Peterson, L.    Review order approving bidding procedures and               0.5      147.50
                           create schedule with key dates.

11/10/2006 Peterson, L.    Prepare schedule calculating recovery percentage of         0.7      206.50
                           DTF loans as of 9/30/06 based on Compass Partners
                           purchase offer.

11/10/2006 Peterson, L.    Make changes to schedule calculating recovery               0.6      177.00
                           percentage of DTF loans as of 9/30/06 based on
                           Compass Partners purchase offer and e-mail to C.
                           Harvick.




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Date         Consultant   Description                                               Hours       Fees

Asset Sale
11/10/2006 Tucker, M.     Review proposal from Racebrook and related e-mails          0.5      225.00
                          from Diversified Trust Deed Fund professionals
                          regarding same.

11/13/2006 Harvick, C.    Participate in call with J. Reed regarding Racebrook        0.2       75.00
                          offer.

11/14/2006 Harvick, C.    Review of Racebrook offer.                                  0.6      225.00

11/14/2006 Harvick, C.    Discuss California Mortgage and Realty, Compass             0.3      112.50
                          and Racebrook offers with B. Fassel and J. Reed.

11/14/2006 Harvick, C.    Review Auction and Bid Procedures.                          0.2       75.00

11/15/2006 Harvick, C.    Prepare analysis of Diversified Trust Deed Fund             0.3      112.50
                          Recovery for response to Compass offer and
                          determine negotiations strategy.

11/30/2006 Harvick, C.    Review of Compass Partners bid for First Trust Deed         0.8      300.00
                          Fund and USA Commercial Mortgage assets.

11/30/2006 Tucker, M.     Review e-mails on sale process and alternate bidders.       0.4      180.00

11/30/2006 Tucker, M.     Follow up with Centennial Investment Management             0.2       90.00
                          (John Sullivan) regarding interest in Diversified Trust
                          Deed Fund assets and send e-mail to B. Fasel
                          regarding same.

Total for Asset Sale:                                                                12.5    4,753.50

Case Administration
11/10/2006 Harvick, C.    Exchange e-mails with M. Tucker regarding workplan,         0.2       75.00
                          current work load and timing.

11/10/2006 Harvick, C.    Review article in Las Vegas Business Journal                0.1       37.50
                          regarding J. Milanowski.

11/13/2006 Tucker, M.     Review e-mail from S. Smith on tax return questions;        0.3      135.00
                          draft reply to S. Smith.

11/14/2006 Harvick, C.    Review e-mails regarding Diversified Trust Deed Fund        0.1       37.50
                          tax reporting for 2006.

11/15/2006 Harvick, C.    Call with L. Peterson to discuss schedule and current       0.2       75.00
                          tasks.

11/15/2006 Peterson, L.   Discuss schedule and current tasks with C. Harvick.         0.2       59.00

11/16/2006 Harvick, C.    Prepare and send schedule update to M. Tucker.              0.1       37.50

11/17/2006 Harvick, C.    Discuss immediate tasks needed with L. Peterson and         0.2       75.00
                          status of case.

11/17/2006 Peterson, L.   Discuss immediate tasks needed with C. Harvick and          0.2       59.00
                          status of case.

11/21/2006 Harvick, C.    Discuss Diversified Trust Deed Fund workplan and            0.3      112.50
                          staffing with M. Tucker.

11/21/2006 Tucker, M.     Discuss workplan and staffing with C. Harvick.              0.3      135.00




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Case Administration
11/25/2006 Tucker, M.            Plan trip to Las Vegas for interview of USA                1.5      675.00
                                 Commercial Mortgage Trustee, other job
                                 administration and organization of numerous
                                 documents and files.

Total for Case Administration:                                                              3.7    1,513.00

Claims Administration and Objections
11/2/2006   Harvick, C.          Review of Mesirow, Quinney and Schwartzer August           0.9      337.50
                                 bills and prepare summary schedule of fee allocations.

11/13/2006 Harvick, C.           Review J. Milanowski and other Proof of Interests.         0.3      112.50

11/14/2006 Harvick, C.           Review J. Milanowski's POI against USA Commercial          0.1       37.50
                                 Mortgage.

Total for Claims Administration and Objections:                                             1.3      487.50

Collection Account Distributions and Related Disputes
11/7/2006   Harvick, C.          Review of September loan summary report sent by S.         0.3      112.50
                                 Smith and respond to her e-mail regarding Diversified
                                 Trust Deed Fund prepaid interest and principal.

11/14/2006 Harvick, C.           Review Fraudulent Transfer memo.                           0.3      112.50

11/14/2006 Harvick, C.           Review e-mails regarding the amount of commingled          0.2       75.00
                                 funds in the collection account.

11/14/2006 Tucker, M.            Analysis of the $2.6 million in the collection account     0.5      225.00
                                 per various e-mails from the Debtor; review e-mails
                                 from various constituencies and send background to
                                 G. Garman.

11/29/2006 Harvick, C.           Review of October Disbursement Report, e-mail from         0.5      187.50
                                 S. Smith regarding same and discuss same with L.
                                 Peterson.

Total for Collection Account Distributions and Related Disputes:                            1.8      712.50

Court Hearings
11/9/2006   Tucker, M.           Review Agenda for Monday 11/13 hearing.                    0.1       45.00

11/13/2006 Harvick, C.           Prepare for and attend Disclosure Statement Hearing        3.0    1,125.00
                                 and discuss same with M. Levinson and A. Loraditch.

11/13/2006 Harvick, C.           Non working travel to Las Vegas for Disclosure             2.5      937.50
                                 Statement Hearing and meeting with Debtor.

11/14/2006 Harvick, C.           Non working travel back to Phoenix from Las Vegas          2.5      937.50
                                 hearings.

Total for Court Hearings:                                                                   8.1    3,045.00

Employment/Fee Applications
11/8/2006   Smith, S.            Review docket report for monthly professional fee          1.3      123.50
                                 filings for narrative review. Begin FTI monthly fee
                                 narratives.



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Date        Consultant    Description                                                 Hours       Fees

Employment/Fee Applications
11/8/2006   Tucker, M.    Assist with FTI fee application and monthly                   0.3      135.00
                          statements.

11/9/2006   Harvick, C.   Review and edit FTI fee application and review and            2.8    1,050.00
                          edit September time.

11/9/2006   Harvick, C.   Review and edit FTI fee application.                          0.8      300.00

11/10/2006 Harvick, C.    Revise FTI fee application and meet with S. Smith to          0.7      262.50
                          discuss changes.

11/10/2006 Harvick, C.    Review June through August FTI time detail.                   0.4      150.00

11/10/2006 Smith, S.      Draft a cover letter template for submitting FTI              0.3       28.50
                          monthly fees.

11/10/2006 Smith, S.      Discuss changes with C. Harvick; complete FTI draft           1.5      142.50
                          fee application narrative revisions to include additional
                          code work and forward to M. Tucker for review.

11/12/2006 Smith, S.      Finish draft cover letter for submitting FTI monthly          3.3      313.50
                          fees for months June through October; begin
                          grammar, spelling and organization changes to
                          September time.

11/14/2006 Schwartz, J.   Discuss FTI monthly statement issues with S. Smith            0.2       59.00
                          and review June monthly statement.

11/14/2006 Smith, S.      Complete reconciliation of FTI September time                 2.2      209.00
                          entries; discuss monthly statement issues with J.
                          Schwartz.

11/15/2006 Smith, S.      Begin process for FTI October time reconciliation.            1.1      104.50

11/15/2006 Smith, S.      Make updates to FTI September time reconciliation.            3.3      313.50

11/16/2006 Smith, S.      Draft FTI monthly fee statements and exhibits for             2.9      275.50
                          June, July and August.

11/17/2006 Harvick, C.    Review of FTI time detail for June through August.            2.7    1,012.50

11/17/2006 Harvick, C.    Review of FTI time detail for October.                        0.6      225.00

11/17/2006 Harvick, C.    Review and edit FTI fee application.                          0.3      112.50

11/17/2006 Peterson, L.   Review changes made to FTI September time detail.             1.4      413.00

11/17/2006 Smith, S.      Additional revisions to time coding for FTI September         2.3      218.50
                          fee application.

11/20/2006 Harvick, C.    Review of changes to FTI time detail for October.             0.5      187.50

11/20/2006 Harvick, C.    Review of FTI time detail for October.                        1.5      562.50

11/20/2006 Smith, S.      Review October FTI time, proof changes and make               2.0      190.00
                          final draft corrections.

11/21/2006 Smith, S.      Review 5 months of FTI time from June through                 5.5      522.50
                          October for continuity in formatting.

11/21/2006 Tucker, M.     Assist with FTI fee statements preparation.                   0.3      135.00




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Date        Consultant       Description                                                 Hours        Fees

Employment/Fee Applications
11/28/2006 Harvick, C.       Discussion with M. Tucker regarding edits to FTI              0.7      262.50
                             interim time detail.

11/28/2006 Smith, S.         Review FTI monthly cover letters; pdf cover letters,          1.0       95.00
                             invoices and supporting exhibits; e-mail to recipients
                             on distribution list.

11/28/2006 Smith, S.         Verify distribution list for interim fee applications and     0.8       76.00
                             get e-mail addresses for recipients.

11/28/2006 Smith, S.         Begin final updates to FTI time from June through             3.5      332.50
                             October 31, 2006.

11/28/2006 Smith, S.         Finalize updates to FTI time from June through                4.3      408.50
                             October 31, 2006 and compare monthly totals to
                             invoices.

11/28/2006 Tucker, M.        Discuss edits to FTI interim time detail with C. Harvick.     0.7      315.00

11/28/2006 Tucker, M.        Review monthly FTI time detail and bills for June,            9.1     4,095.00
                             July, August, September and October.

Total for Employment/Fee Applications:                                                    58.3    12,630.50

Financing
11/21/2006 Peterson, L.      Review and document October 2006 MORs and                     1.4      413.00
                             update Diversified Trust Deed Fund monthly operating
                             report summary to include October 2006.

11/27/2006 Peterson, L.      Review Diversified Trust Deed Fund cash receipts              0.4      118.00
                             and disbursements actual versus budgeted for
                             October.

11/28/2006 Harvick, C.       Discuss Diversified Trust Deed Fund October monthly           0.2       75.00
                             operating report with L. Peterson.

11/28/2006 Peterson, L.      Update schedules for cash collections, Diversified            0.6      177.00
                             Trust Deed Fund loan monitoring, and monthly
                             operating report schedules and discuss with C.
                             Harvick.

Total for Financing:                                                                       2.6      783.00

IP/10-90/Ashby Recovery
11/1/2006   Harvick, C.      Locate, PDF, and e-mail R. Charles the promissory             0.2       75.00
                             note for 10-90.

11/1/2006   Harvick, C.      Review and revise 10-90 Loan History Report and               3.1     1,162.50
                             compare to Mesirow Loan History Report; note
                             differences and send e-mail to S. Smith; receive
                             revised Mesirow schedule and compare noting
                             differences and send e-mail to S. Smith; review
                             documentation (bank statements etc.) regarding same.

11/1/2006   Harvick, C.      Send e-mail to Mesirow regarding status of getting            0.5      187.50
                             documents from Fiesta Development, discussion with
                             M. Tucker regarding same and his conversation with
                             Ashby last week.




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IP/10-90/Ashby Recovery
11/1/2006   Harvick, C.    Left message for H. Mayrhofer at Roripaugh Ranch            0.2       75.00
                           and sent follow up e-mail to Mesirow.

11/1/2006   Tucker, M.     Review issues on certain of $58 million accounts            0.9      405.00
                           receivable from Investment Partners and related
                           accounting.

11/1/2006   Tucker, M.     Review Investment Partners financial statements and         1.2      540.00
                           analysis of various assets.

11/1/2006   Tucker, M.     Discuss Fiesta Development and Ashby call on                0.4      180.00
                           Stoneridge with C. Harvick.

11/2/2006   Harvick, C.    Review e-mails from A. Jarvis regarding the revised         0.4      150.00
                           escrow instructions, further review of security
                           documents and e-mail to group requesting Ashby
                           documents.

11/3/2006   Harvick, C.    Place several calls to check on status of recoveries        0.2       75.00
                           and document production for Colt and 10-90 loans.

11/6/2006   Harvick, C.    Prepare follow-up e-mail to P. McNicholas regarding         0.2       75.00
                           Fiesta data request.

11/6/2006   Harvick, C.    Review data provided by P. McNicholas for Fiesta            0.5      187.50
                           Stoneridge and Fiesta OakValley.

11/6/2006   Tucker, M.     Conference with M. Levinson regarding Ashby issues.         0.2       90.00

11/6/2006   Tucker, M.     Review data provided by Fiesta for Oak Valley and           1.3      585.00
                           Stoneridge; analysis of value and cash flow; draft e-
                           mail to Diversified Trust Deed Fund team on follow up
                           issues regarding same.

11/7/2006   Harvick, C.    Review of proforma and budgets provided by Fiesta           1.4      525.00
                           for Stoneridge and Oak Valley.

11/8/2006   Harvick, C.    Review Investment Partners financial statements for         1.5      562.50
                           identification of additional assets and liabilities and
                           the impact on recovery of 10-90 and $58 million note;
                           review Investment Partners documents (tax returns
                           related entity financials, etc.) provided by R. Charles
                           regarding same.

11/8/2006   Harvick, C.    Participate in call with A. Loraditch and J. Hermann        2.2      825.00
                           and review financial and organization chart
                           documents for USA Commercial Realty Group, Eagle
                           Ranch and Investment Partners; discuss deposition
                           questions for J. Milanowski regarding same.

11/8/2006   Harvick, C.    Scan documents and prepare e-mail regarding                 0.6      225.00
                           findings for USA Commercial Realty Group to R.
                           Charles for preparation of J. Milanowski deposition.

11/9/2006   Harvick, C.    E-mail S. Smith regarding the calculation of 10-90          0.2       75.00
                           outstanding amounts due.

11/9/2006   Harvick, C.    Participate in call with R. Charles regarding USA           0.2       75.00
                           Commercial Realty Group deposition.

11/9/2006   Peterson, L.   Review information provided regarding Stoneridge,           1.3      383.50
                           Oak Valley, Placer and Cabernet and update support
                           documentation binders.


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IP/10-90/Ashby Recovery
11/9/2006   Tucker, M.    Review HMA Sales foreclosure notice.                           0.1       45.00

11/10/2006 Harvick, C.    Review of Royal Hotel foreclosure notice and send e-           0.3      112.50
                          mail regarding same.

11/10/2006 Harvick, C.    Prepare and send 2004 recipient list to M. Levinson            0.2       75.00
                          and J. Hermann and participate in call to discuss
                          same.

11/10/2006 Harvick, C.    Call with A. Jarvis, J. Atkinson, M. Haftl, J. Hermann         1.5      562.50
                          and M. Levinson regarding Investment Partners, J.
                          Milanowski and current developments with HMA, SEC
                          and other Plan items.

11/10/2006 Harvick, C.    Call with J. Hermann regarding his discussion with C.          0.2       75.00
                          Orrock on HMA Sales and schedule for next week to
                          meet with Mesirow.

11/10/2006 Smith, S.      Docket research at request of C. Harvick regarding             1.0       95.00
                          Great White/HMA Sales litigation.

11/10/2006 Tucker, M.     Plan Investment Partners and Ashby follow up work;             0.9      405.00
                          review various information received on same.

11/13/2006 Harvick, C.    Participate in meeting with A. Jarvis, M. Levinson, B.         1.3      487.50
                          Olson and E. Monson regarding SEC status,
                          fraudulent transfers and preferences, Colt status and
                          Investment Partners actions.

11/13/2006 Peterson, L.   Review of documentation for 10-90 default date, and            0.4      118.00
                          e-mail 10-90 Loan History Report to C. Harvick.

11/13/2006 Tucker, M.     Review issues with recovery on Diversified Trust               0.2       90.00
                          Deed Fund liens from Investment Partners.

11/14/2006 Harvick, C.    Review 10-90 Loan History Report and Recovery                  0.4      150.00
                          Status Report and discuss issues and compounding
                          of interest with M. Tucker.

11/14/2006 Peterson, L.   Make changes to 10-90 loan schedule using                      1.4      413.00
                          compounding interest from the date the loan matured.

11/14/2006 Tucker, M.     Conference with C. Harvick regarding 10-90 loan                0.3      135.00
                          issues and compounding of interest.

11/14/2006 Tucker, M.     Review e-mails on meeting with SEC and assistance              0.2       90.00
                          needed.

11/15/2006 Harvick, C.    Review of 10-90 loan detail from Mesirow and follow-           0.4      150.00
                          up discussion with S. Smith.

11/15/2006 Harvick, C.    Participate in call with T. Allison, A. Jarvis, M. Tucker,     0.5      187.50
                          J. Hermann, and M. Levinson regarding SEC and
                          various 10-90/Investment Partners recovery issues.

11/15/2006 Tucker, M.     Review Investment Partners financial statements and            0.6      270.00
                          Investment Partners documents.

11/15/2006 Tucker, M.     Participate in conference call with A. Jarvis, T. Allison,     0.5      225.00
                          C. Harvick, J. Hermann and M. Levinson regarding
                          SEC and various 10-90/Investment Partners issues.




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IP/10-90/Ashby Recovery
11/16/2006 Harvick, C.    Participate in call with M. Levinson, J. Hermann, M.       0.6      225.00
                          Tucker and A. Loraditch regarding SEC and next
                          steps with Investors IV, HMA Sales and Investment
                          Partners.

11/16/2006 Peterson, L.   Reviewing Loan History Report for 10-90 created by         0.8      236.00
                          Mesirow and e-mail from S. Smith regarding 10-90
                          loan history and compare to FTI 10-90 Loan History
                          Report.

11/17/2006 Harvick, C.    Review of Stoneridge and Oak Valley files provided         0.9      337.50
                          by P. McNicholas of Fiesta Development, prepare
                          issues and questions to be addressed; discuss same
                          with P. Cheng.

11/17/2006 Harvick, C.    Call with P. McNicholas regarding Oak Valley and           0.7      262.50
                          Stoneridge status and request for more information.

11/17/2006 Harvick, C.    Meet with L. Peterson to discuss review of Mesirow 10-     0.1       37.50
                          90 Loan History Report changes.

11/17/2006 Peterson, L.   Reviewing Loan History Report for 10-90 created by         1.2      354.00
                          Mesirow and e-mail from S. Smith regarding 10-90
                          loan history and compare to FTI 10-90 Loan History
                          Report; discussion with C. Harvick regarding same.

11/17/2006 Peterson, L.   Make changes to FTI 10-90 loan schedule to                 1.4      413.00
                          compound only after petition and compare with
                          Mesirow 10-90 schedule.

11/20/2006 Tucker, M.     Conference with J. Landis representing Great White         0.5      225.00
                          regarding assistance in Royal Hotel matter (HMA
                          Sales).

11/21/2006 Peterson, L.   Review title insurance policies for Stoneridge, Oak        0.8      236.00
                          Valley, Placer Vineyards, and Cabernet.

11/21/2006 Peterson, L.   Review of 10-90 Loan History Reports created both by       0.3       88.50
                          FTI and Debtor and e-mail Debtor with differences.

11/21/2006 Tucker, M.     Review Investment Partners motion for protective           0.3      135.00
                          order.

11/22/2006 Peterson, L.   Finalize 10-90 Loan History Report created by FTI          2.2      649.00
                          and prepare support binder for 10-90 Loan History
                          Report.

11/22/2006 Peterson, L.   Review e-mails regarding 10-90 and send P. Cheng           0.3       88.50
                          the most recent 10-90 Loan History Report provided
                          by Debtor.

11/22/2006 Peterson, L.   Review information provided regarding 10-90, Placer        0.6      177.00
                          Vineyard, and Cabernet and update support binders.

11/22/2006 Tucker, M.     Conference with J. Landis, lawyer for Great White          0.8      360.00
                          Investors on assistance; draft e-mail to T. Alison and
                          S. Smith regarding assisting them (HMA Sales
                          related).

11/22/2006 Tucker, M.     Discuss Great White request for assistance with M.         0.2       90.00
                          Levinson (HMA Sales).




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Date       Consultant        Description                                              Hours        Fees

IP/10-90/Ashby Recovery
11/27/2006 Harvick, C.       Review of Motion of USA Investment Partners and J.         0.6      225.00
                             Milanowski for the Endorsement of a Protective Order.

11/27/2006 Peterson, L.      Review Oak Mesa Investors and Buffalo Land                 1.0      295.00
                             Development Company Operating Agreements to
                             determine USA Investment Partners initial contribution
                             in these two entities and compare to 10-90 funding to
                             Fiesta.

11/27/2006 Peterson, L.      Calculate and provide support for amount funded by         0.4      118.00
                             10-90 loan to Fiesta Oak Valley to purchase
                             Milanowski's Investment Partners interest.

11/27/2006 Peterson, L.      Review title insurance policies for Stoneridge, Oak        0.8      236.00
                             Valley, Placer Vineyards, and Cabernet.

11/30/2006 Harvick, C.       Review 10-90 loan agreement and response from S.           0.2       75.00
                             Smith regarding the calculation of interest. Send e-
                             mail to J. Hermann regarding same.

Total for IP/10-90/Ashby Recovery:                                                     41.8    15,008.00

Meetings & Communications with Diversified Committee
11/10/2006 Tucker, M.        Participate in Committee call and follow up issues         1.7      765.00
                             from call.

11/16/2006 Harvick, C.       Participate in Committee call regarding status update.     1.9      712.50

11/16/2006 Tucker, M.        Participate in Committee conference call.                  1.7      765.00

11/21/2006 Harvick, C.       Participate in Diversified Trust Deed Fund Committee       1.0      375.00
                             call.

11/21/2006 Tucker, M.        Participate in Committee conference call.                  1.0      450.00

11/27/2006 Harvick, C.       Diversified Trust Deed Fund Committee call.                1.7      637.50

11/27/2006 Harvick, C.       Review of investor e-mails and L. Ernce comments           0.1       37.50
                             regarding same.

11/28/2006 Harvick, C.       Discussion with M. Tucker regarding next steps to          0.2       75.00
                             present to Committee.

11/28/2006 Tucker, M.        Prepare for Committee meeting, including                   1.6      720.00
                             summarizing status of loans, findings and proposed
                             next steps; discuss with C. Harvick.

11/29/2006 Harvick, C.       Prepare for and participate in Diversified Committee       3.5     1,312.50
                             call to discuss Plan, Amended Operating Agreement
                             and other events.

11/29/2006 Harvick, C.       Review of Diversified Trust Deed Fund member               0.2       75.00
                             request for tax information and send follow-up e-mail
                             to S. Smith regarding same.

11/29/2006 Tucker, M.        Non working travel attempting to get to Las Vegas for      3.1     1,395.00
                             Committee meeting - plane mechanical problems and
                             did not fly to Las Vegas.

Total for Meetings & Communications with Diversified Committee:                        17.7     7,320.00



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Date        Consultant    Description                                                 Hours       Fees

Plan and Other Restructure Related Work
11/1/2006   Harvick, C.   Research source for unremitted principal amount at            0.5      187.50
                          petition date for Diversified Trust Deed Fund and First
                          Trust Deed Fund; send e-mail to M. Kvarda regarding
                          same.

11/1/2006   Harvick, C.   Participate in call with T. Burr regarding First Trust        0.2       75.00
                          Deed Fund unremitted principal claim, and the
                          calculation of interest on the 10-90 and $58 million
                          note.

11/1/2006   Harvick, C.   Discuss settlement negotiation points between USA             0.9      337.50
                          Commercial Mortgage and Diversified Trust Deed
                          Fund regarding Colt origination fee, management fees
                          and professional fees, and priority of tasks with M.
                          Tucker.

11/1/2006   Tucker, M.    Discuss settlement negotiation points between USA             0.9      405.00
                          Commercial Mortgage and Diversified Trust Deed
                          Fund regarding Colt origination fee, management fees
                          and professional fees, and priority of tasks with C.
                          Harvick.

11/2/2006   Harvick, C.   Prepare for and participate in call with R. Charles, T.       3.1    1,162.50
                          Burr, J. Hermann, M. Tucker and M. Levinson
                          regarding settlement and plan negotiations.

11/2/2006   Harvick, C.   Prepare scenario calculation of allocation of proceeds        0.5      187.50
                          for unsecured recoveries to facilitate plan negotiations.

11/2/2006   Harvick, C.   Participate in call with J. Hermann, M. Tucker and M.         3.7    1,387.50
                          Levinson regarding settlement and plan negotiations.

11/2/2006   Harvick, C.   Modify FTI schedules of detail of $58 million and send        0.3      112.50
                          to T. Burr.

11/2/2006   Harvick, C.   Review Diversified Trust Deed Fund equity section of          0.6      225.00
                          Diversified Trust Deed Fund March 31, 2006 financial
                          statement and Diversified Trust Deed Fund past tax
                          returns to determine members equity for plan
                          negotiations; discuss same with M. Tucker.

11/2/2006   Tucker, M.    Participate in conference call with R. Charles, T. Burr,      2.7    1,215.00
                          M. Levinson, J. Hermann and C. Harvick regarding
                          Plan Term Sheet and settlement discussions.

11/2/2006   Tucker, M.    Analysis of Diversified Trust Deed Fund investment            0.8      360.00
                          for claim purposes.

11/2/2006   Tucker, M.    Discuss members equity for plan negotiations with C.          0.2       90.00
                          Harvick.

11/2/2006   Tucker, M.    Prepare for and participate in several calls with J.          3.9    1,755.00
                          Hermann, M. Levinson and C. Harvick regarding Plan
                          Term Sheet alternatives and proposal to USA
                          Commercial Mortgage.

11/3/2006   Harvick, C.   Review e-mail regarding Joint Chapter 11 Plan and             0.1       37.50
                          print plan.

11/3/2006   Harvick, C.   Review Joint Chapter 11 Plan.                                 1.6      600.00

11/3/2006   Harvick, C.   Continue review of Joint Chapter 11 Plan and send             1.7      637.50
                          comments to Orrick.


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Plan and Other Restructure Related Work
11/3/2006   Tucker, M.    Participate in all hands Committee and Debtor            1.3      585.00
                          conference call on plan issues.

11/5/2006   Harvick, C.   Review Chapter 11 Plan, call and discuss same with       0.5      187.50
                          M. Levinson and M. Tucker.

11/5/2006   Harvick, C.   Participate in all hands conference call regarding       1.6      600.00
                          Chapter 11 Plan.

11/5/2006   Tucker, M.    Review revised draft Plan.                               1.7      765.00

11/5/2006   Tucker, M.    Prepare for and participate in all hands Debtor and      2.3    1,035.00
                          Committees conference call on revised plan.

11/5/2006   Tucker, M.    Conference with M. Levinson and C. Harvick               0.2       90.00
                          regarding new plan.

11/5/2006   Tucker, M.    Conference with M. Levinson regarding follow up          0.2       90.00
                          issues on plan and negotiations with USA Commercial
                          Mortgage Committee.

11/6/2006   Harvick, C.   Participate in all hands Debtor and Committees call      2.9    1,087.50
                          regarding the final draft of the Plan.

11/6/2006   Harvick, C.   Review draft of Disclosure Statement and J.              0.8      300.00
                          Hermann's and L. Ernce's comments/changes
                          regarding same.

11/6/2006   Harvick, C.   Review draft of Plan and Disclosure Statement and e-     1.5      562.50
                          mail changes/comments to M. Levinson and J.
                          Hermann; discuss same with M. Tucker

11/6/2006   Harvick, C.   Review draft of Plan and coordinate changes with M.      2.1      787.50
                          Kvarda and C. Pajak.

11/6/2006   Harvick, C.   Review S. Smith e-mail regarding Diversified Trust       1.7      637.50
                          Deed Fund servicing advances, interest advances
                          and unsecured claim against USA Commercial
                          Mortgage; review Diversified Trust Deed Fund past
                          monthly summary schedules and Hold Funds Report
                          regarding same, e-mail S. Smith and M. Tucker
                          comments on follow-up items.

11/6/2006   Harvick, C.   Participate in all hands Debtor and Committees call      0.6      225.00
                          regarding the Disclosure Statement.

11/6/2006   Harvick, C.   Participate in call with M. Haftl and J. Atkinson        0.4      150.00
                          regarding Diversified Trust Deed Fund expected
                          claims and recoveries.

11/6/2006   Harvick, C.   Review e-mails regarding changes and comments for        0.8      300.00
                          Chapter 11 Plan and Disclosure Statement.

11/6/2006   Harvick, C.   Participate in call with M. Levinson and J. Hermann      0.2       75.00
                          regarding the review of Disclosure Statement and
                          Chapter 11 Plan.

11/6/2006   Tucker, M.    Analysis of Diversified Trust Deed Fund prepaid          0.5      225.00
                          interest and principle and related e-mails from S.
                          Smith for plan issues.

11/6/2006   Tucker, M.    Review revised Disclosure Statement and Plan drafts.     2.5    1,125.00



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Plan and Other Restructure Related Work
11/6/2006   Tucker, M.    Review numerous e-mail comments on proposed                1.1      495.00
                          changes to Plan and Disclosure Statement; discuss
                          same with C. Harvick.

11/6/2006   Tucker, M.    Conference with M. Levinson regarding Plan issues.         0.2       90.00

11/7/2006   Harvick, C.   Review of filed Plan including confirmation of changes     0.6      225.00
                          requested.

11/7/2006   Harvick, C.   Review of proposed changes to Disclosure Statement.        0.3      112.50

11/7/2006   Harvick, C.   Continue review of revised Disclosure Statement, e-        1.9      712.50
                          mail comments to Orrick and discuss with M.
                          Levinson.

11/7/2006   Harvick, C.   Review of proposed changes to Disclosure Statement         0.9      337.50
                          and cover letter.

11/7/2006   Harvick, C.   Review of Plan voting procedures/stipulations.             0.2       75.00

11/7/2006   Harvick, C.   Participate in all hands Debtor and Committees             0.7      262.50
                          conference call regarding Disclosure Statement.

11/7/2006   Harvick, C.   Review revised Disclosure Statement.                       1.0      375.00

11/7/2006   Tucker, M.    Review Disclosure Statement draft.                         0.8      360.00

11/7/2006   Tucker, M.    Review various e-mails on changes to Disclosure            0.9      405.00
                          Statement.

11/8/2006   Harvick, C.   Review the Summary of the Disclosure Statement.            0.3      112.50

11/8/2006   Harvick, C.   Prepare summary of compromise between Diversified          0.6      225.00
                          Trust Deed Fund and First Trust Deed Fund for the
                          Diversified Trust Deed Fund Committee.

11/8/2006   Harvick, C.   Prepare e-mail and call M. Haftl regarding LSA for the     0.3      112.50
                          only two direct lenders of the Colt Gateway loan.

11/8/2006   Harvick, C.   Review of Disclosure Statement and loan summary            0.8      300.00
                          sent by S. Smith to determine the correct amount of
                          Diversified Trust Deed Fund prepaid interest for
                          offsetting analysis.

11/8/2006   Harvick, C.   Review e-mail from M. Levinson regarding changes to        0.2       75.00
                          summary of compromise between First Trust Deed
                          Fund and Diversified Trust Deed Fund, implement
                          changes and send to Committee.

11/8/2006   Harvick, C.   Continue to prepare analysis of amounts owed from          0.7      262.50
                          and owed to USA Commercial Mortgage and gather
                          support documentation for negotiations with the
                          Unsecured Credit Committee of USA Commercial
                          Mortgage.

11/8/2006   Harvick, C.   Prepare analysis of amounts owed from and owed to          1.0      375.00
                          USA Commercial Mortgage for negotiations with the
                          Unsecured Creditors Committee of USA Commercial
                          Mortgage.

11/8/2006   Tucker, M.    Review various e-mails on changes and missed               0.4      180.00
                          changes to Plan and Disclosure Statement.



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Plan and Other Restructure Related Work
11/8/2006   Tucker, M.    Review summary of First Trust Deed Fund settlement         0.2       90.00
                          with Diversified Trust Deed Fund for distribution to
                          Committee.

11/9/2006   Harvick, C.   Review e-mails and changes to the Disclosure               0.5      187.50
                          Statement and timing of notices and filings.

11/9/2006   Tucker, M.    Review various e-mails on Plan and Disclosure              0.5      225.00
                          Statement edits.

11/10/2006 Harvick, C.    Discuss the conference call regarding the Plan and         0.5      187.50
                          changes for USA Commercial Realty with M. Tucker.

11/10/2006 Harvick, C.    Participate in all hands Debtor and Committees call to     0.7      262.50
                          discuss the Plan and USA Commercial Realty.

11/10/2006 Harvick, C.    Participate in all hands Debtor and Committees call        1.5      562.50
                          on Plan issues.

11/10/2006 Harvick, C.    Send request to J. Reed for LSA in soft copy.              0.1       37.50

11/10/2006 Peterson, L.   Review of Amended Plan of Reorganization.                  1.8      531.00

11/10/2006 Tucker, M.     Review draft Plan confirmation order.                      0.3      135.00

11/10/2006 Tucker, M.     Discussion with C. Harvick regarding conference call       0.5      225.00
                          regarding the Joint Term Plan and changes for USA
                          Commercial Realty.

11/12/2006 Harvick, C.    Call with M. Haftl regarding Diversified Trust Deed        0.2       75.00
                          Fund liquidation analysis and USA Commercial
                          Mortgage claim amount.

11/12/2006 Harvick, C.    Review of Disclosure Statement modifications.              0.5      187.50

11/12/2006 Harvick, C.    Review e-mails of changes to Disclosure Statement,         0.4      150.00
                          Plan and liquidation analysis.

11/12/2006 Harvick, C.    Call with J. Hermann and M. Levinson regarding post        0.3      112.50
                          Diversified Trust Deed Fund operations and inclusion
                          of statements in the Plan.

11/12/2006 Harvick, C.    Call with M. Levinson to discuss changes to the Plan       0.2       75.00
                          and Disclosure Statement.

11/12/2006 Harvick, C.    Review of Plan modifications.                              0.7      262.50

11/12/2006 Tucker, M.     Review numerous e-mails regarding Plan and                 2.4    1,080.00
                          Disclosure Statement changes from November 11
                          and 12.

11/13/2006 Harvick, C.    Review edits to the Plan and Disclosure Statement.         0.8      300.00

11/13/2006 Harvick, C.    Review edits to the Plan and Disclosure Statement.         1.2      450.00

11/13/2006 Harvick, C.    Conference with M. Levinson and M. Tucker regarding        0.6      225.00
                          Plan and Disclosure Statement hearing.

11/13/2006 Peterson, L.   Review of Amended Plan of Reorganization.                  1.2      354.00

11/13/2006 Tucker, M.     Review revised Disclosure Statement order, summary         0.5      225.00
                          and other salutation information.



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Date       Consultant     Description                                               Hours       Fees

Plan and Other Restructure Related Work
11/13/2006 Tucker, M.     Determine status of funds in collection account; e-mail     0.4      180.00
                          R. Charles regarding same.

11/13/2006 Tucker, M.     Review various e-mails on Plan and Disclosure               0.6      270.00
                          Statement changes.

11/13/2006 Tucker, M.     Conference with M. Levinson and C. Harvick                  0.6      270.00
                          regarding Plan and Disclosure Statement hearing.

11/14/2006 Harvick, C.    Call with M. Tucker to discuss the Plan and                 0.4      150.00
                          Disclosure Statement changes and Fraudulent
                          Transfer memo.

11/14/2006 Harvick, C.    Review of Plan, Disclosure Statement and                    1.1      412.50
                          hypothetical values of unsecured recoveries.

11/14/2006 Harvick, C.    Review of numerous e-mails regarding edits to the           0.4      150.00
                          Plan and Disclosure Statement.

11/14/2006 Harvick, C.    Review of estimate of Loan Servicing fees prepared          0.3      112.50
                          by Mesirow and discuss same with T. Allison and S.
                          Smith.

11/14/2006 Harvick, C.    Prepare for and meet with M. Haftl regarding                0.4      150.00
                          Mesirow's liquidation analysis.

11/14/2006 Harvick, C.    Prepare for and participate in call with T. Burr            0.4      150.00
                          regarding the estimated loan servicing fees waived as
                          part of the negotiations with the Direct Lenders.

11/14/2006 Harvick, C.    Participate in call with M. Tucker, J. Hermann and M.       0.7      262.50
                          Levinson regarding the unpaid loan servicing fees
                          waived as part of the negotiations with the Direct
                          Lenders and the recovery amounts provided in the
                          plan for Diversified Trust Deed Fund and USA
                          Commercial Mortgage unsecured creditors.

11/14/2006 Harvick, C.    Review of Hypothetical 2 in the Disclosure Statement.       0.3      112.50

11/14/2006 Harvick, C.    Review Final Plan, Disclosure Statement and                 1.3      487.50
                          numerous e-mails and provide comments regarding
                          same.

11/14/2006 Harvick, C.    Discuss liquidation analysis issues and stated              0.5      187.50
                          recovery in Plan with M. Tucker.

11/14/2006 Harvick, C.    Review of Hypothetical 1 in the Disclosure Statement.       0.3      112.50

11/14/2006 Tucker, M.     Prepare analysis of liquidation analysis issues and         2.4    1,080.00
                          stated recovery ranges in Plan as well as review and
                          analysis of unpaid servicing fees from S. Smith and
                          impact on Plan; conference with C. Harvick and then
                          M. Levinson on same.

11/14/2006 Tucker, M.     Call with C. Harvick to discuss the Plan and                0.4      180.00
                          Disclosure Statement changes and Fraudulent
                          Transfer memo.

11/14/2006 Tucker, M.     Review various Plan and Disclosure Statement                2.7    1,215.00
                          changes.




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Date       Consultant     Description                                                Hours       Fees

Plan and Other Restructure Related Work
11/15/2006 Harvick, C.    Meet with L. Peterson to discuss and outline a draft of      0.6      225.00
                          M. Tucker Second Declaration for settlement
                          negotiations between Diversified Trust Deed Fund
                          and USA Commercial Mortgage.

11/15/2006 Peterson, L.   Continue to draft narrative for M. Tucker Second             5.8    1,711.00
                          Declaration for settlement negotiations between
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage regarding violations of loan servicing
                          agreement and prospectus by USA Commercial
                          Mortgage and Realty Advisors and Diversified Trust
                          Deed Fund properties which should get first lien for 10-
                          90 loan.

11/15/2006 Peterson, L.   Draft narrative for M. Tucker Second Declaration for         1.1      324.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage
                          regarding violations of loan servicing agreement and
                          prospectus by USA Commercial Mortgage and Realty
                          Advisors and Diversified Trust Deed Fund properties
                          which should get first lien for 10-90 loan.

11/15/2006 Peterson, L.   Draft narrative for M. Tucker Second Declaration for         0.3       88.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage regarding
                          mismanagement of the EPIC and Sheraton loans by
                          USA Commercial Mortgage.

11/15/2006 Peterson, L.   Discuss with C. Harvick - outline for draft of M.            0.6      177.00
                          Tucker Second Declaration for settlement
                          negotiations between Diversified Trust Deed Fund
                          and USA Commercial Mortgage.

11/16/2006 Peterson, L.   Continue to draft narrative for M. Tucker Second             0.6      177.00
                          Declaration for settlement negotiations between
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage regarding mismanagement of the EPIC and
                          Sheraton loans by USA Commercial Mortgage.

11/17/2006 Harvick, C.    Participate in call with T. Burr regarding post              0.3      112.50
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage operations after the effective date of the
                          Plan.

11/17/2006 Peterson, L.   Continue to draft narrative for M. Tucker Second             1.7      501.50
                          Declaration for settlement negotiations between
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage regarding mismanagement of the EPIC and
                          Sheraton loans by USA Commercial Mortgage.

11/20/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           4.1    1,537.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/20/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           0.7      262.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/20/2006 Harvick, C.    Review and draft M. Tucker Second Declaration for            2.6      975.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.




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Date       Consultant     Description                                              Hours       Fees

Plan and Other Restructure Related Work
11/21/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for         1.5      562.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/21/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for         0.7      262.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/21/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for         0.4      150.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/21/2006 Harvick, C.    Review of USA Capital Time to Act Letter to Direct         0.5      187.50
                          Lenders.

11/21/2006 Harvick, C.    Review questions of E. Lefever regarding Diversified       0.6      225.00
                          Trust Deed Fund post effective date Operating
                          Agreement, gather documentation and coordinate a
                          time to discuss documents and other issues.

11/21/2006 Harvick, C.    Discuss Diversified Trust Deed Fund and USA                0.2       75.00
                          Commercial Mortgage mediation status with M.
                          Tucker.

11/21/2006 Harvick, C.    Review solicitation research for response to Letter to     0.1       37.50
                          Direct Lenders.

11/21/2006 Harvick, C.    Participate in USA Commercial Mortgage all hands           0.5      187.50
                          Committee call to discuss Plan issues (part).

11/21/2006 Harvick, C.    Review of Diversified Trust Deed Fund tax returns and      0.7      262.50
                          financial statements for purpose of preparing M.
                          Tucker Second Declaration for settlement
                          negotiations between Diversified Trust Deed Fund
                          and USA Commercial Mortgage; discussion with L.
                          Peterson regarding same.

11/21/2006 Peterson, L.   Edit schedule of Diversified Trust Deed Fund               0.8      236.00
                          percentage of loans with no real property as security
                          and prepare support documentation for same.

11/21/2006 Peterson, L.   Update schedule and determine difference in                2.5      737.50
                          Diversified Trust Deed Fund equity amount on
                          12/31/05 Diversified Trust Deed Fund balance sheet,
                          amount shown on Fund Activity Report as of 9/8/06
                          and 2005 Diversified Trust Deed Fund tax return.

11/21/2006 Peterson, L.   Discussion with C. Harvick regarding the differences       0.7      206.50
                          in equity amounts for Diversified Trust Deed Fund on
                          tax returns, financial statements, and Fund Activity
                          Reports for purpose of preparing M. Tucker Second
                          Declaration for settlement negotiations between
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage.

11/21/2006 Peterson, L.   Prepare narrative for M. Tucker Second Declaration         1.7      501.50
                          for settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage regarding
                          equity amounts shown on Fund Activity Report and
                          Diversified Trust Deed Fund balance sheets.

11/21/2006 Tucker, M.     Review USA Commercial Mortgage Trustee                     0.4      180.00
                          candidates and related e-mails.


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Date       Consultant     Description                                                Hours       Fees

Plan and Other Restructure Related Work
11/21/2006 Tucker, M.     Discussion with M. Levinson regarding plan issues.           0.2       90.00

11/21/2006 Tucker, M.     Research plan administrators and send e-mail to M.           0.5      225.00
                          Levinson on same.

11/21/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                   0.4      180.00
                          regarding follow up to Committee call and potential
                          Plan Agents.

11/21/2006 Tucker, M.     Review and analysis of letter sent by D. Cangelosi to        0.5      225.00
                          investors.

11/21/2006 Tucker, M.     Review M. Levinson e-mail on Diversified Trust Deed          0.4      180.00
                          Fund and USA Commercial Mortgage mediation
                          status and discuss same with C. Harvick.

11/22/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           2.6      975.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/22/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           1.8      675.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/22/2006 Harvick, C.    Send E. Lefever the documents for modifications to           0.3      112.50
                          Diversified Trust Deed Fund post effective date
                          Operating Agreement.

11/22/2006 Harvick, C.    Review final draft of Solicitation Motion.                   0.2       75.00

11/22/2006 Harvick, C.    Review bullet points for Solicitation Motion, related e-     0.9      337.50
                          mails and prepare and send comments.

11/22/2006 Harvick, C.    Review Debtor First Amended Disclosure Statement.            0.3      112.50

11/22/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           0.8      300.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/22/2006 Peterson, L.   Review of Diversified Trust Deed Fund prospectus             0.2       59.00
                          regarding servicing fees paid to USA Commercial
                          Mortgage.

11/22/2006 Peterson, L.   Research GAAP rule for when an asset can be written          1.3      383.50
                          down as a loss for analysis of capital account issues.

11/22/2006 Peterson, L.   Edit schedule of Diversified Trust Deed Fund                 0.2       59.00
                          percentage of loans with no real property as security
                          and prepare support documentation for same.

11/22/2006 Peterson, L.   Prepare support binder with schedules and support            1.1      324.50
                          documentation for M. Tucker Second Declaration for
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/22/2006 Tucker, M.     Conference with M. Levinson regarding USA                    0.2       90.00
                          Commercial Mortgage Trustee selection.

11/22/2006 Tucker, M.     Review revised solicitation material, comment on             3.4    1,530.00
                          same and review additional unauthorized solicitation
                          material from investors; conference with M. Levinson
                          and J. Hermann regarding same.



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Date       Consultant     Description                                                Hours       Fees

Plan and Other Restructure Related Work
11/22/2006 Tucker, M.     Review final motion on additional solicitation materials     0.4      180.00
                          and court hearing information.

11/27/2006 Harvick, C.    Review of resumes for USA Commercial Mortgage                0.3      112.50
                          trustee position.

11/27/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           1.0      375.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/27/2006 Harvick, C.    Review Diversified Trust Deed Fund prospectus and            0.5      187.50
                          Diversified Trust Deed Fund member list and
                          participate in call with E. Lefever.

11/27/2006 Harvick, C.    Review of Donna Cangelosi's Opposition to                    0.3      112.50
                          Committees Section 1125 Motion regarding
                          unauthorized solicitation.

11/27/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           2.4      900.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/27/2006 Harvick, C.    Review of Joint Motion of the Four Committees to             0.3      112.50
                          Approve Supplemental Disclosure.

11/27/2006 Peterson, L.   Review of Diversified Trust Deed Fund prospectus to          0.3       88.50
                          determine the definition of a membership unit and
                          amount outstanding and how these relate to each
                          other.

11/27/2006 Tucker, M.     E-mail and conference with M. Levinson regarding             0.5      225.00
                          Diversified Trust Deed Fund Plan Administrators.

11/27/2006 Tucker, M.     Non working travel to Las Vegas to interview USA             1.8      810.00
                          Commercial Mortgage Trustee candidates.

11/27/2006 Tucker, M.     Participate in interviews and follow up discussion for       9.4    4,230.00
                          USA Commercial Mortgage Trustee candidates.

11/27/2006 Tucker, M.     Non working travel to Phoenix after interviews with          1.7      765.00
                          USA Commercial Mortgage Trustee candidates.

11/28/2006 Harvick, C.    Discuss changes to M. Tucker Second Declaration for          0.3      112.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage with L.
                          Peterson.

11/28/2006 Harvick, C.    Review of October disbursement report for offset             0.3      112.50
                          issues in Plan negotiations.

11/28/2006 Harvick, C.    Continue to draft M. Tucker Second Declaration for           1.2      450.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage; discuss
                          changes with L. Peterson.

11/28/2006 Peterson, L.   Discussion with C. Harvick and make changes to M.            1.7      501.50
                          Tucker Second Declaration for settlement
                          negotiations between Diversified Trust Deed Fund
                          and USA Commercial Mortgage; update support
                          binder.




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Date       Consultant     Description                                                Hours       Fees

Plan and Other Restructure Related Work
11/28/2006 Peterson, L.   Review draft of M. Tucker Second Declaration for             1.9      560.50
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage and
                          update documentation in support binder for same.

11/29/2006 Harvick, C.    Compare negotiation sheet between USA Commercial             0.5      187.50
                          Mortgage Unsecured Creditors Committee and
                          Diversified Trust Deed Fund and items addressed in
                          draft of M. Tucker Second Declaration for settlement
                          negotiations between Diversified Trust Deed Fund
                          and USA Commercial Mortgage; determine additional
                          analysis and issues that need to be addressed.

11/29/2006 Harvick, C.    Prepare analysis of Diversified Trust Deed Fund              1.5      562.50
                          unsecured USA Commercial Mortgage claim for
                          negotiations with USA Commercial Mortgage
                          Unsecured Creditors Committee.

11/29/2006 Peterson, L.   Continue to review draft for M. Tucker Second                0.5      147.50
                          Declaration for settlement negotiations between
                          Diversified Trust Deed Fund and USA Commercial
                          Mortgage; update documentation in support binder for
                          same.

11/29/2006 Tucker, M.     Call to S. Freeman regarding USA Commercial                  0.2       90.00
                          Mortgage Trustee selection status; e-mail Diversified
                          Trust Deed Fund team on same.

11/29/2006 Tucker, M.     Prepare for and participate in all hands Debtor and          6.2    2,790.00
                          Committees call including review of revised
                          Diversified Trust Deed Fund post effective date
                          Operating Agreement and other Plan issues.

11/30/2006 Harvick, C.    Review and edit M. Tucker Second Declaration for             1.6      600.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage including
                          review of Oak Mesa Investors and Buffalo Land
                          Development Operating Agreements and Sheraton
                          and EPIC Loan History Reports.

11/30/2006 Harvick, C.    Review and edit M. Tucker Second Declaration for             1.0      375.00
                          settlement negotiations between Diversified Trust
                          Deed Fund and USA Commercial Mortgage.

11/30/2006 Harvick, C.    Review Diversified Trust Deed Fund post effective            1.6      600.00
                          date Operating Agreement, draft changes and discuss
                          same with E. Lefever and J. Reed at Mesirow.

11/30/2006 Harvick, C.    Review the calculation of First Trust Deed Fund              0.3      112.50
                          recovery and verify First Trust Deed Fund investment
                          stated in the Plan vs. the list of First Trust Deed Fund
                          claims/member capital.

11/30/2006 Harvick, C.    Review of Investment Partners $58 million note and           0.1       37.50
                          send e-mail to S. Smith requesting the outstanding
                          amount due for negotiations with USA Commercial
                          Mortgage Unsecured Creditors Committee.

11/30/2006 Tucker, M.     Conference with M. Carmel regarding Trustee position         0.3      135.00
                          for USA Commercial Mortgage.




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Date       Consultant         Description                                        Hours          Fees

Plan and Other Restructure Related Work
11/30/2006 Tucker, M.         Conference with M. Levinson, J. Hermann and M.       0.5         225.00
                              Carmel regarding Trustee position for USA
                              Commercial Mortgage.

Total for Plan and Other Restructure Related Work:                               168.8      65,652.50

Grand Total                                                                      392.3   $140,009.00




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                               USA Capital Diversified Trust Deed Fund
                                          Summary Exhibit D
                              Professional Expenses Incurred by Category
                             For the Period of 11/1/2006 through 11/30/2006
Consultant           Date Incurred Description of Expense                                            Amount

Administrative
Administration          11/1/2006    Dun & Bradstreet electronic research on Investment                 50.62
                                     Partners related entities.

Administration          11/1/2006    Dun & Bradstreet electronic research on Investment                101.24
                                     Partners related entities.

Total for Administrative:                                                                              151.86

Airfare
Harvick, C.            11/14/2006    Air Fare from Phoenix, AZ on 11/13/06 to Las                      245.10
                                     Vegas, NV returned on 11/14/06.

Tucker, M.             11/27/2006    Air Fare from Phoenix, AZ on 11/27/06 to Las                      627.10
                                     Vegas, NV returned on 11/27/06.

Total for Airfare:                                                                                     872.20

Lodging
Harvick, C.            11/14/2006    Hotel in Las Vegas, NV for 1 Night, Check In                      261.60
                                     11/13/06 - Check Out 11/14/06.

Total for Lodging:                                                                                     261.60

Meals
Harvick, C.            11/14/2006    Lunch.                                                              5.77

Tucker, M.             11/27/2006    Dinner.                                                            12.17

Total for Meals:                                                                                        17.94

Transportation
Harvick, C.            11/13/2006    Rental Car Expenses 11/13/06 through 11/14/06 in                   76.62
                                     Las Vegas, NV.

Harvick, C.            11/13/2006    Parking to attend hearing.                                         32.00

Harvick, C.            11/14/2006    PHX airport parking 2 days.                                        40.00

Tucker, M.             11/27/2006    PHX airport parking 1 day.                                         20.00

Tucker, M.             11/27/2006    Mileage from home to airport and return home.                       6.23

Tucker, M.             11/29/2006    PHX airport parking for attempted trip to Las Vegas,               12.00
                                     NV.

Total for Transportation:                                                                              186.85


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Consultant    Date Incurred Description of Expense                             Amount

Grand Total                                                                   $1,490.45




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